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UNITED STATES BANKRUPTCY COURT

MIDDLE DISTRICT OF FLORIDA
ORLANDO DIVISION
IN RE: Case No.: 6:18-bk-06259-K SJ
DANA MICALLEF
Debtor(s).

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RESPONSE TO TRUSTEE’S OBJECTION TO DEBTOR’S CLAIM OF EXEMPTIONS

DEBTOR, by and through the undersigned attorney, hereby responds io Trustee’s Objection to

Debtor’s Use of Exemptions (Doc. 75), as follows:

1.

The Debtor admits the allegations set forth in Paragraphs 1, 2, 4, 5, 6, 7, 10, 11, 12, 13,
14, 15, 16 and 17.

As to Paragraphs 3, Debtor admits that Schedule C of his Petition claims the amount of
$700,000 as exempt homestead, but contends the homestead exemption is limited to the
amount of equity as cither determined by order of this Court or by agreement of the
parties as the difference between the homestead value as of the Petition Date less
mortgages and other liens on said property.

As to Paragraph 8 and 20, the homestead equity based on Debtor’s purchase price and
mortgage balance of $332,624.97 would be $288,375.00. Based ona value of $850,000,
the equity would be $517,376, an increase of $229,000. However, due to the recorded
Federal tax lien of the Internal Revenue Service, a copy attached hereto, in the amount of
633,433.47, there is no equity available for distribution to any creditors in the event of
liquidation by the Trustee and after recognition/payment of Debtor’s exemption which
may be limited to $160,375.
As to Paragraph 18, Debtor would submit that the market value of the homestead
property has increased due to both improvements made by Debtor and market

appreciation.

WHEREFORE, Debtor respectfully requests this Court find that after deductions for claims

secured by Debtor’s homestead, and recognition of Debtor’s homestead claim of $160,375, there would —

be no non-exempt equity available for administration by the Trustee for the benefit of creditors, and

therefore deny said objection, and allow the Debtor’s homestead exemption in the amount as determined

by this Court, any further relief this Court deems just and proper.
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SNELL & SNELL, P.A,

  
    

By WW WSS alt
WALTER J. SNELL ESO.
Florida Bar #729360

436 N. Peninsula Drive

Daytona Beach, FL 32118

(386) 255-5334/(386)-255-5335-fax
Attorney for Debtor

Email: snellandsnell@mindspring.com

Certificate of Service
[HEREBY CERTIFY that I have furnished a copy of the above and foregoing via Electronic
Notice to Cynthia E. Lewis at clewis@lewismonroe.com: this ae day of April, 2019.
:13-DK- -KSJ Doc 79 Filed 04/29/19 Page 3 of 3
QIF/2018 CASE 48 Dic 06289. errah #1 Book:7598 Page:1949 Laura E. Roth, Volusia Gounty Clerk of Court.

 

 

 

16595 _
§ 3 Department of the Treasury - Internal Revenue Service
‘orm 668 (V¥}{c} . s oes .
(Rev, February 2008] Notice of Federal Tax Lien
Area: a = | Serial Number ~ For Optional Use by Recording Office.

 

SMALE BUSINESS/SELF EMPLOYED AREA #3

Lien Unit Phone: (860) 913-6059 323562118
As provided by section 6321, 6322, and 6323 of the Internal Revenue
Code, we are giving a notice that taxes (including interest and penalties) |
have been assessed against the following-named taxpayer. We have made:
a demand for payment of this liability, but ic remains unpaid. Therefors,..|
there is a Hen in favor of the United States on all property and rights to
‘property belonging to this taxpayer for the amount of these taxes, and
additional penalties, interest, and costs that may accrue.

Name of Taxpayer DANA M MICALLEF

 

 

 

 

 

1888 JOEN ANDERSON DR -
ORMOND BEACH, FL 32176-3207

Residence

 

   

     
  

| IMPORTANT RELEASE INFORMATION: For each assessniént listed below, ff
§ unless notice of the lien Js refiled by the-date. given in gelatin te), this notiee shail, |
| on the day following such date, operate as a CertHicate. of release as defined ff
@ in IRC 6325ia), , 7 . :

   
      
     

 

  
 

 

 

 

 

 

 

 

 

 

 

 

Tax. Period . Date of Last Day for Unpaid Balance
Kind of Tax Endive Idenzifying Number | Assessment Refilling of Assessment
(a) ib) te) id) {e) (fF)
1040: [12/31/2010| & 12/26/2026] 01/25/2027 90.15
1040 (12/31/2015 07/18/2016! 08/17/2026 43682.21
1040 $12/31/2016 03/15/2018) 04/18/2028
Place of Filing
CLERK OF CIRCUIT COURT. -
VOLUSIA COUNTY Total 1$
DELAND, FL 32727

BALTIMORE, MD

 

This natice was prepared: and signed at , on this,

ith yg. o¢ September 2018

 

 

 

the
Signature a F : - Title
_ Cpe Haak REVENUE OFFICER
for JOHN OOPES (386) 254-7317 ;
(NOTE: Certificate of officer-autherized by law to take. acknowledgment is not essential to the validity of Notice of Federal Tax:tien

Rev. Rut ? T4868, 1971 -2-C,B, 409} fs 6681) > tA 2.2004)
One €y (Rev, 2- ,
CAT. NQ g0025x

23-09-3736

 

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